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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


MATTHEW KAUFRINDER and CONNIE                           )
KAUFRINDER, by her son and next                         )
friend, MATTHEW KAUFRINDER,                             )
on behalf of plaintiffs and a class,                    )      Case No. 16-cv-2622
                                                        )
                       Plaintiffs,                      )      Judge Bucklo
                                                        )      Magistrate Judge Schenkier
               vs.                                      )
                                                        )
ANSELMO LINDBERG OLIVER LLC,                            )
                                                        )
                       Defendant.                       )

                                         STIPULATION

       Defendant Anselmo Lindberg Oliver, LLC, hereby stipulates that it will not take any

action that could be alleged to moot plaintiffs’ class allegations, including tendering a settlement,

unless defendant gives five days’ written notice to all counsel of record for Plaintiffs. In

consideration of the foregoing, Plaintiffs stipulate to withdraw the pending motion for class

certification without prejudice.

Respectfully submitted,

s/Michelle A. Alyea                                   s/Justin M. Penn
Michelle A. Alyea                                     Justin M. Penn
One of the Attorneys for Plaintiffs                   One of the Attorneys for Defendant

Daniel A. Edelman                                     David M. Schultz
Cathleen M. Combs                                     Jason L. Santos
James O. Latturner                                    Justin M. Penn
Michelle A. Alyea                                     Hinshaw & Culbertson
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                                CERTIFICATE OF SERVICE

       I, Michelle A. Alyea, hereby certify that on July 28, 2016, I caused a true and accurate
copy of the foregoing document to be filed via the courts CM/ECF online system, which
sent notice via email to each of the following parties:

David M Schultz (dschultz@hinshawlaw.com)
Jason L Santos (jsantos@hinshawlaw.com)
Justin Penn (jpenn@hinshawlaw.com)


                                                                    s/Michelle A. Alyea
                                                                    Michelle A. Alyea



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